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                EXHIBIT 31
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 1               UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF CALIFORNIA
 2
 3     IN RE: ROUNDUP                  )
       PRODUCTS LIABILITY              )   MDL No. 2741
 4     LITIGATION                      )
       _____________________           )   Case No.
 5     THIS DOCUMENT RELATES           )   16-md-02741-VC
       TO ALL CASES                    )
 6
 7                  MONDAY, JANUARY 23, 2017
 8    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
 9                               – – –
10                  Videotaped deposition of William F.
11    Heydens, Ph.D., held at the offices of HUSCH
12    BLACKWELL, L.L.C., 190 Carondelet Plaza,
13    Suite 600, St. Louis, Missouri, commencing at
14    9:03 a.m., on the above date, before Carrie
15    A. Campbell, Registered Diplomate Reporter,
16    Certified Realtime Reporter, Illinois,
17    California & Texas Certified Shorthand
18    Reporter, Missouri & Kansas Certified Court
19    Reporter.
20                               – – –
21

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25

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 1            Q.        Yes, sir.
 2                      That you wrote, right?
 3            A.        That's not correct.
 4            Q.        Here's what it says in
 5    January 2016.       You said then, sir, "I had
 6    already written a draft introductory chapter
 7    back in October/November."
 8                      That's what happened, right,
 9    sir?
10            A.        Yeah, that's exactly what I was
11    just talking to in the previous -- in my
12    previous response.
13            Q.        Yet when we go to Exhibit 3:4
14    that you just pointed out, page 16, it says,
15    "Neither Monsanto" -- "neither any Monsanto
16    Company employees nor any attorneys reviewed
17    any of the expert panel manuscripts prior to
18    submission to the journal."
19                      You didn't just review them;
20    you wrote them.
21                      MR. JOHNSTON:       Objection.
22            Vague.
23    QUESTIONS BY MR. MILLER:
24            Q.        Wrote parts of the expert panel
25    report; you wrote them, right, sir?

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 1                      MR. JOHNSTON:       Objection.
 2            Vague.     Misstates the testimony and is
 3            argumentative.
 4                      THE WITNESS:       I'll answer
 5            again:     I wrote a draft introductory
 6            chapter for possible use back at the
 7            beginning, really, when the panel
 8            concept was coming together.             That --
 9            and that -- the information that was
10            in there, again, was historical.              It
11            had nothing to do with the panel
12            deliberations.        Didn't even deal with
13            the data at all because, again, it was
14            historical.
15                      Subsequently it was -- like I
16            said in the previous -- my previous
17            response, you know, moving forward and
18            getting later in time, the journal
19            editor didn't think it was even
20            appropriate to have the chapter, so he
21            had Ashley extract what would be
22            relevant historical information to
23            include in that publication, and
24            that's what Ashley did.
25

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 1            foundation.
 2    QUESTIONS BY MR. MILLER:
 3            Q.        Right, Doctor?
 4            A.        That's what's stated there.
 5            Q.        Okay.    Let's take a look at
 6    exactly --
 7            A.        And this is -- this is really
 8    what we've already covered, but go ahead.
 9            Q.        Thank you.
10                      This is from William Heydens,
11    February, to Ashley Roberts:             "Ashley, I have
12    gone through the entire document and
13    indicated what I think should stay, what can
14    go, and in a couple spots did a little
15    editing."
16                      So those are three of the
17    things you did to that Intertek epi report,
18    right?
19                      MR. JOHNSTON:       Objection.
20            Vague and misstates the record.
21                      THE WITNESS:       So this is --
22            I'll go back, and we'll talk about
23            this again.       This is what we had
24            talked about previously.
25                      So this is very late stage in

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 1            the process.       Recall that I had
 2            mentioned that when we first -- when
 3            this project started that there was
 4            going to be four reports, and at that
 5            point in time it was not envisioned
 6            that there would be a summary document
 7            and much less what the authorship
 8            might be.
 9                      So as the project progressed,
10            the concept for the summary article
11            progressed as well.          And what I mean
12            by that is it was decided that the
13            summary -- the overall summary article
14            would be authored by all -- was it
15            16? -- of them.
16                      And so what we're looking at
17            here, this is a point in the process.
18            So initially they were reviewing their
19            own sections, and so they very easily
20            could agree amongst themselves.              What
21            I mean by that is the epidemiologists
22            could agree amongst themselves what
23            they thought they should say about the
24            epidemiology, the gene tox folks, so
25            on and so forth.

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 1                      So now we've gone through that
 2            whole process and they're at the point
 3            where, as I just described, they're
 4            all going to be authors on this paper.
 5            So then they start reviewing each
 6            others' -- another -- you can think of
 7            it as another level of peer review, if
 8            you will, where they were reviewing
 9            what the others had written.
10                      So in these e-mail
11            communications, the epidemiologists
12            did a very hard look at the animal --
13            from the animal bioassay group, and
14            they're actually critiquing -- the
15            epidemiologists are actually
16            critiquing some of the things that
17            were said in the other; most notably,
18            one of them that I'm looking at right
19            here talking about Hill's criteria.
20                      So the epidemiologists didn't
21            think that the toxicologists should be
22            talking about Hill's criteria when --
23            and they're just flat out wrong, quite
24            honestly, because if you go read, for
25            instance, EPA's cancer risk assessment

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 1            guidelines, which they used on
 2            glyphosate and use on other things as
 3            well, they very clearly say that
 4            there's a modified form of Hill's
 5            criteria.      So anyway, there was
 6            questions amongst -- around them about
 7            that.
 8                      Another thing that sticks out
 9            in here, as I look at this, where
10            there was some disagreement -- and I
11            think we actually touched on this
12            earlier in the day, where the
13            different panels took somewhat
14            different approaches.          So I think I
15            mentioned how the epidemiologists,
16            when they did their review, they
17            didn't really want to do it from the
18            standpoint of here's what IARC got
19            wrong.     They did it just, what is all
20            the data, what does the data tell us,
21            here's our conclusions.
22                      The animal people -- when I say
23            "the animal," I mean the animal
24            bioassay group, because they worked in
25            their sections in isolation

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 1            previously.       They did do some
 2            criticisms, some direct criticisms,
 3            of founded -- well-founded criticisms
 4            of IARC, and some reference of that
 5            made it into their publication.              When
 6            the -- and some of that drained over
 7            into the overall review publication.
 8                      So when the epidemiologists saw
 9            that, they didn't think that it was
10            appropriate.       So there was some dialog
11            back and forth about that.
12                      So when you look at this
13            document here and you see some
14            editing, what was going on at that
15            point in time.        John, being the good
16            soul that he is, he stepped in and was
17            trying to make it easy for Ashley --
18            he was trying to be kind of a
19            go-between, I guess, if you will,
20            between the epidemiologists and Ashley
21            and the animal people to try and bring
22            this to some resolution.
23                      And so John, as part of that,
24            he suggested a number of edits which
25            are reflected in this document.              You

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  1            can see some of them; you can't see
  2            others.     I don't know why that is.
  3            There appears to be some problem with
  4            picking up the editing function.
  5                     But anyway, that's what
  6            happened.      And then -- so Ashley --
  7            that's what Ashley sent to me and
  8            basically said, "Hey, look what John
  9            did."
10                      And I went through his
11             comments.      And that's what we talked
12             about earlier this morning where I
13             said I made some comments about John's
14             comments, sent them back to Ashley,
15             and then Ashley dealt with them as
16             he -- as he saw appropriate.
17                      MR. MILLER:       Objection.      Move
18             to strike as unresponsive.
19     QUESTIONS BY MR. MILLER:
20             Q.       Let's look at Exhibit 3-20.
21                      MR. JOHNSTON:       Objection.       You
22             asked the question, Counsel.            He
23             answered your question.
24     QUESTIONS BY MR. MILLER:
25             Q.       Let's look at Exhibit 3-20.

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  1              UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF CALIFORNIA
  2
  3     IN RE: ROUNDUP                 )
        PRODUCTS LIABILITY             )   MDL No. 2741
  4     LITIGATION                     )
        _____________________          )   Case No.
  5     THIS DOCUMENT RELATES          )   16-md-02741-VC
        TO ALL CASES                   )
  6
  7                 TUESDAY, JANUARY 24, 2017
  8    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
  9                               – – –
10                  Videotaped deposition of William
11     Heydens, Ph.D., Volume II, held at the
12     offices of HUSCH BLACKWELL, L.L.C., 190
13     Carondelet Plaza, Suite 600, St. Louis,
14     Missouri, commencing at 9:04 a.m., on the
15     above date, before Carrie A. Campbell,
16     Registered Diplomate Reporter, Certified
17     Realtime Reporter, Illinois, California &
18     Texas Certified Shorthand Reporter, Missouri
19     & Kansas Certified Court Reporter.
20                                – – –
21

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  1            anyone on the phone call?
  2                     MR. TRAVERS:       Jeff Travers from
  3            The Miller Firm.
  4                     MR. MILLER:       Good morning, Jeff
  5            Travers from The Miller Firm.
  6                     Who else?      Anyone?
  7                     MR. JOHNSTON:       And the
  8            plaintiffs' counsel attending in
  9            person is the same as was present
10             yesterday.
11                       CROSS-EXAMINATION
12     QUESTIONS BY MR. JOHNSTON:
13             Q.       Good morning, Dr. Heydens.
14             A.       Good morning.
15             Q.       My name is Robert Johnston.            I
16     represent Monsanto in this case.              We've met
17     before, have we not?
18             A.       Yes, we have.
19             Q.       Can you tell the jury what your
20     profession is, Dr. Heydens?
21             A.       Yes.    I'm a toxicologist by
22     profession.
23             Q.       And what is your current title
24     at Monsanto?
25             A.       Currently I'm product safety

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  1    assessment strategy lead.
  2            Q.       And can you tell the jury what
  3    you do in that role?
  4            A.       In that role, my job is to work
  5    with other scientists as we get new products
  6    that come in that would need to be tested for
  7    safety to work on, devise the overall testing
  8    strategy and sets of studies that we would do
  9    to support the safety of that product.
10             Q.       Are there standard studies or a
11     guide to what kind of studies need to be done
12     for a new product?
13             A.       There are for some -- for the
14     traditional pesticides, there are a set of
15     guideline studies.         A couple different sets
16     of guideline studies that we can use and we
17     can -- if necessary, we can adapt those for a
18     different product concept.
19             Q.       Are there any required studies
20     that would have to be done for a new
21     herbicide or pesticide?
22             A.       For new pesticides, for which
23     herbicide is one, yes, there's a whole set of
24     studies, a very comprehensive set of studies
25     that need to be done, all way from acutes,

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  1            A.       Yes, there was.
  2            Q.       Who was that?
  3            A.       At the time that I took that
  4    over, that would have been Donna Farmer.
  5            Q.       How much work did you do with
  6    glyphosate as the director of the toxicology
  7    group?
  8            A.       Very, very little for that
  9    period of time.        Because the other thing that
10     was happening shortly after I became the
11     director of the toxicology group, I also
12     became the co-lead for what was -- what
13     Monsanto called the product safety center.
14     And the product safety center was responsible
15     for -- that was the group where the group of
16     scientists was housed who were responsible
17     for demonstrating the safety of Monsanto's
18     biotechnology portfolio.           And that's a
19     portfolio that in the early 2000s was growing
20     rather significantly, and so I found myself
21     spending more and more time working in those
22     areas and less on the traditional chemicals
23     like glyphosate.
24             Q.       What type of products were in
25     the biotechnology area?

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  1            A.       "It was concluded that, under
  2    present and expected conditions of use,
  3    Roundup herbicide does not pose a health risk
  4    to humans."
  5            Q.       Now, I want to look back at the
  6    acknowledgements for this paper on page 160
  7    of the journal.
  8                     I want you to start with the
  9    authors in the acknowledgement, and can you
10     read that for the jury, please?
11             A.       "The authors were given
12     complete access to toxicological information
13     contained in the great number of laboratory
14     studies and archival material at Monsanto in
15     St. Louis, Missouri, and elsewhere.               Key
16     personnel at Monsanto who provided scientific
17     support were William F. Heydens, Donna R.
18     Farmer, Marian S. Bleeke, Steven J. Wratten,
19     and Catherine H. Carr."
20             Q.       Okay.     You can stop there.
21                      Your name is in that list of
22     folks, correct?
23             A.       That is correct.
24             Q.       And so this paper disclosed in
25     the acknowledgements that you were involved

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